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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


JAC’QUANN (ADMIRE)
HARVARD; JEREMIAH HILL;
JUAN ESPINOSA; JEROME
BURGESS (a/k/a SHAM’LA GOD
ALLAH); JAMES W.
KENDRICK, JR.; JOHNNY HILL;
AMY FERGUSON; and TRACEY
DEAN; on behalf of themselves
and all others similarly situated,     Case No.: 4:19-cv-00212-MW-MAF

                      Plaintiffs

                 v.

MARK INCH, in his official
capacity as Secretary of the Florida
Department of Corrections, and
FLORIDA DEPARTMENT OF
CORRECTIONS, an Agency of the
State of Florida,

                      Defendants.


         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
          WITH INCORPORATED MEMORANDUM OF LAW
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    I.       INTRODUCTION

          This case arises from the Florida Department of Corrections’ (FDC) statewide

policy and practice of isolating people in filthy, 60-to-80 square feet cells—smaller

than an average parking space—for 22 to 24 hours a day, and depriving them of

normal human contact, minimal levels of exercise, and environmental stimulation

for months or years at a time.            FDC compounds the pain, humiliation, and

degradation of these deprivations through its daily use of punitive, inhumane, and

counterproductive security measures. FDC uses various labels for this policy and

practice, but they all meet the U.S. Department of Justice definition of “solitary

confinement” and “isolation.”1

          It is well known by corrections experts and administrators, including FDC,

that the cumulative impact of these conditions causes people to deteriorate

psychologically and physically, including by inducing or exacerbating depression,

psychosis, anxiety, insomnia, and suicidality.2 Due to these devastating effects, an

increasing number of jurisdictions across the country recognize that solitary


1
  See, e.g., Letter from Thomas E. Perez, Assistant Attorney Gen., U.S. Dep’t of Justice, Civil
Rights Div., to Tom Corbett, Governor of Pa., Re: Investigation of the State Correctional
Institution at Cresson and Notice of Expanded Investigation, at 5 (May 31, 2013),
http://www.justice.gov/crt/about/spl/documents/cresson_findings_5-31-13.pdf (last visited May
23, 2021).
2
 See, e.g., Stuart Grassian, Psychiatric Effects of Solitary Confinement, 22 Wash. U. J.L. &
Pol’y 325 (2006).




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confinement constitutes torture and are taking measures to eliminate it. 3 FDC,

despite its knowledge of this serious harm, has taken the opposite approach and

continues to isolate more than ten percent of its incarcerated population—one of the

highest rates in the nation.4

         FDC also discriminates against people with disabilities by placing and

keeping them in isolation without implementing a system to provide reasonable

accommodations. As a result, FDC isolates people with disabilities even further,

effectively shutting them out from the barest opportunities for engagement, exercise,

and mental stimulation afforded to other people in isolation.

         Named Plaintiffs are people FDC has subjected to a risk of harm, and harmed,

through its unconstitutional and discriminatory isolation policies and practices.

They seek certification of the following class and subclasses:

                • Plaintiff Class: All people in the custody of FDC who are, or will
                  be in the future, in Administrative Confinement, Disciplinary
                  Confinement, Close Management, Maximum Management or any
                  substantially equivalent restrictive housing unit used by FDC where
                  people are locked in their cells, alone or with a cellmate, for 22 hours
                  or more per day.

                • Youth Subclass: All people in the custody of FDC who are under
                  21 years old and who are, or will be in the future, in Administrative
3
 The Corr. Leaders Assoc. & The Arthur Liman Ctr. for Pub. Interest Law at Yale Law Sch.,
Time-In-Cell 2019: A Snapshot of Restrictive Housing based on a Nationwide Survey of U.S.
Prison Systems 80-85 (2020), available at
https://law.yale.edu/sites/default/files/area/center/liman/document/time-in-cell_2019.pdf; Exhibit
C-4, 150:11–151:4
4
    Time-In-Cell 2019, supra note 3, at 87.


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                   Confinement, Disciplinary Confinement, Close Management,
                   Maximum Management or any substantially equivalent restrictive
                   housing unit used by FDC where people are locked in their cells,
                   alone or with a cellmate, for 22 hours or more per day.

               • Subclass of Persons with Serious Mental Illness (SMI Subclass):
                 All people with serious mental illness 5 in the custody of FDC who
                 are or will be in the future, in Administrative Confinement,
                 Disciplinary Confinement, Close Management, Maximum
                 Management or any substantially equivalent restrictive housing unit
                 used by FDC where people are locked in their cells, alone or with a
                 cellmate, for 22 hours or more per day.

               • Subclass of Persons with Physical Disabilities (Physical
                 Disability Subclass): All qualified individuals with physical
                 disabilities,6 as “disabilities” is defined in 42 U.S.C. § 12102 and
                 29 U.S.C. § 705(9)(B), in the custody of FDC who are or will be in
                 the future, in Administrative Confinement, Disciplinary
                 Confinement, Close Management, Maximum Management or any
                 substantially equivalent restrictive housing unit used by FDC where
                 people are locked in their cells, alone or with a cellmate, for 22 hours
                 or more per day.

       Plaintiffs meet all requirements for class certification. The Plaintiff Class

includes at least 9,000 individuals; the Youth Subclass at least 160 individuals; the

SMI Subclass at least 860 individuals; and the Physical Disability Subclass at least


5
  As defined by FDC, “serious mental illness” refers to [1] psychotic, bipolar, and major depressive
disorders; or [2] any other diagnosed mental disorder (excluding substance abuse disorders)
currently associated with serious impairment in psychological, cognitive, or behavioral
functioning that substantially interferes with the person’s ability to meet the ordinary demands of
living and requires an individualized treatment plan by a qualified mental health professional.
Psychological impairments relate to the mental and emotional state of the individual, cognitive
impairments relate to cognitive or intellectual disabilities, and behavioral impairments relate to
observable actions or reactions in response to external or internal stimuli. Ex. G-10 at 3.
6
 “Physical disabilities” refers to all disabilities not encompassed within the definition of “serious
mental illness.”


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80 individuals. Plaintiffs challenge FDC’s statewide isolation policies and practices,

raising common questions that can be answered in one stroke and addressed through

systemwide injunctive and declaratory relief. The harms Named Plaintiffs suffer are

typical of the same harms FDC’s systemic isolation policies and practices cause class

members. Named Plaintiffs and class counsel will fairly and adequately protect the

interests of the proposed class and subclasses. In sum, the factual and legal issues

in this case warrant class certification.

    II.      STATEMENT OF FACTS

             A. FDC Implements Centralized, Systemic Policies to Isolate More
                than Ten Percent of Its Population.

          FDC isolates more than 10 percent of the approximately 94,000 7 people in its

custody on any given day, and condemns them to languish there for weeks, months,

years—even decades—at a time. Exhibits (Exs.) C-4, 150:11–151:4; B-6; D-3, Nos.

119, 131, 134; E-4. FDC cycles many people from one type of isolation to another

for months or years with no clear path out.8 Declaration of Dan Pacholke (Pacholke

Decl.), ¶26.


7
  As of January 2021, there are approximately 80,000 people in FDC prisons, but this is due to
the ramifications of COVID-19, and FDC expects the population to soon rise to at least its pre-
pandemic level of 94,000 people. Fla. Dep’t of Corr., Strategic Plan 2021 – 2024 12 (2021),
available at http://www.dc.state.fl.us/pub/annual/1819/2020-2021-Strategic-Plan.pdf (last visited
May 26, 2021).
8
 See, e.g., Exs. A-2, ¶33; A-21, ¶12; A-14, ¶10; A-20, ¶14; A-31, ¶9; A-18, ¶24. Declaration of
James Kendrick (Kendrick), ¶17; Declaration of Jerome Burgess (Burgess), ¶4.



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       FDC regulates all aspects of isolation through centralized policies, including

the Florida Administrative Code,                           ,             , and healthcare

procedures.     Exs. C-6, 23:16–24:3 (                   ); C-4, 25:11-27:11, 32:3-12

(                   ); C-1, 12:7–13:10; F-5; Pacholke Decl., ¶¶11-25. Although FDC

uses different labels for isolation (Administrative Confinement, Disciplinary

Confinement, Close Management, and Maximum Management), the conditions

differ only by a matter of degree that is insignificant to the risk of harm resulting

from solitary confinement. Pacholke Decl., ¶ 25. FDC collectively refers to all these

types of isolation units as “restrictive housing.” Ex. C-4, 63:4-14, 64:4-8. In policy

and practice, all units also meet the U.S. Department of Justice’s and American

Correctional Association’s definitions of “solitary confinement”: “(1) removal from

the general inmate population, whether voluntary or involuntary; (2) placement in a

locked room or cell, whether alone or with another inmate; and (3) inability to leave

the room or cell for the vast majority of the day, typically 22 hours or more.” 9 Ex.

C-4, 93:19–96:9; Pacholke, ¶25.

       Administrative Confinement (AC) is the first step in the isolation process,

defined as the “temporary separation of an inmate from inmates in general




9
 U.S. Dep’t of Justice, Report And Recommendations Concerning The Use Of Restrictive
Housing, Executive Summary (Jan. 2016), 2,
https://www.justice.gov/archives/dag/file/815561/download (last visited May 26, 2021)



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population” before “a more permanent inmate management decision process can be

concluded.” Fla. Admin. Code Ann. r. (FAC) 33-602.220(1)(a). FDC isolates

people it finds guilty of disciplinary charges in Disciplinary Confinement (DC).

FAC 33-602.222(1)(d). FDC isolates people in Close Management (CM) “for

reasons of security or the order and effective management of the institution.” FAC

33-601.800(1)(a). CM includes three levels, with Level I supposed to be the most

restrictive and Level III the least. FAC 33-601.800(1)(b). FDC isolates people in

Maximum Management (MM) because of “extreme security risk[s] to the

Department.” FAC 33-601.820(1)(b).

      There is no maximum time limit for isolation. Ex. D-3 at Nos. 123, 125, 126,

127. For DC, people are sentenced to specific amounts of time, but sentences can

run consecutively with no maximum. Id. at Nos. 114-119. For AC, CM, and MM,

people are sent to isolation indefinitely. Although there are periodic reviews, it is

completely within FDC’s discretion whether to release someone from isolation.

Pacholke Decl., ¶26; Ex. D-3, Nos. 123, 125, 126-127.

      On any given day, FDC isolates at least 9,000 people, divided roughly in thirds

between AC, CM, and DC, with up to 20 people in MM. Ex. B-6. Within CM, there

are approximately 1,300 people in Level I; 1,600 people in Level II; and 1,000

people in Level III. Ex. E-2.




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       B. FDC Deprives All People in Isolation of Normal Human Contact,
          Environmental Stimulation, and Exercise While Locking Them in
          Decrepit Cells for 22 Hours a Day.

       The differences between conditions in general population and isolation are

stark. In general population, people retain at least some agency to go to the dining

hall to eat, the health clinic for treatment, the recreation yard to exercise, the

dayroom to socialize, the visiting park to hug their children, the chapel to pray, the

library for books, the laundry for clothes, the showers for hygiene, the phone area to

call their families, and to prison staff for assistance. In isolation, FDC denies and

restricts these services or forces people to rely on prison staff to come to their cell

door; FDC does not permit people in isolation to even call out to staff for help unless

it is a “true emergency.” See, e.g., Ex. E-3, ¶2; Ex. B-7, ¶¶5–11.

       All isolation cells are essentially the same. Most cells do not meet the

American Correctional Association (ACA) standard of 80 square feet (including 35

unencumbered feet), which is half the size of a standard parking space.10 Ex. G-13

at DHA00153073; G-12; Ex. B-1. Some cells have no windows; cells that do are

often covered or frosted over, prohibiting people from viewing the world outside.11

10
   See, e.g., Columbus, Ohio, Code of Ordinances, Title 33, Zoning Code, § 3312.29 (“A parking
space shall be a rectangular area of not less than nine feet by 18 feet …”),
https://library.municode.com/oh/columbus/codes/code_of_ordinances?nodeId=TIT33ZOCO_CH
3312OREPALO_3312.29PASP (last visited May 18, 2021).
11
 See, e.g., Exs. A-7, ¶6; A-15, ¶7; A-1, ¶6; A-9, ¶3; A-22, ¶9; A-12, ¶8; A-4, ¶4; Burgess ¶9;
Declaration of Amy Ferguson (Ferguson), ¶7.



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See, e.g., Ex. B-2; Pacholke Decl., ¶33. Many cells are grimy and infested with rats

and cockroaches. 12 The plumbing in many cells is in disrepair or controlled by staff,

forcing people to eat and sleep inches from toilets full of human waste. 13 Pacholke

Decl., ¶34, Venters Decl., ¶14. Yet, FDC permits showers only three times a week.

Pacholke Decl., ¶46.

       FDC denies people in all types of isolation normal human contact. FDC’s

policies prohibit people from communicating with those in neighboring cells.14

Pacholke Decl., ¶31; Ex. E-3, ¶¶2-4. People in DC or AC receive no personal visits

or phone calls unless specifically approved by the Warden or due to emergency.

FAC 33-602.222(4)(i)(1), (4)(1); FAC 33-602.220(5)(i), (5)(j).                   Under FDC’s

written policies, people in CM can receive phone calls and visits only after 30 days

without major rule violations, and even then, the policies provide only one call and

visit every thirty days in CM I; one call and visit every fourteen days in CM II; and

one call and visit every week in CM III. FAC 33-601.800(11)(b)5, 11(6)(a-c). But

in practice, FDC frequently suspends all visits and phone calls, as well as other CM



12
  See, e.g., Exs. A-19, ¶5; A-23, ¶5; A-11, ¶7; A-17, ¶5; A-26, ¶6; A-15, ¶6; A-21, ¶4; A-12, ¶8;
A-25, ¶6; A-3, ¶8; Declaration of Juan Espinosa (Espinosa), ¶8; Declaration of Jeremiah Hill
(Jeremiah Hill), ¶4.
13
  See, e.g., Exs. A-27, ¶6; A-6, ¶6; A-22, ¶4; A-8, ¶5; A-23, ¶6; A-1, ¶5; A-18, ¶7; A-13, ¶11;
Ferguson, ¶8; Kendrick, ¶4; Declaration of Admire Harvard (Harvard), ¶5.
14
  See e.g., Exs. A-29, ¶6; A-6, ¶8; A-27, ¶8; A-20, ¶ 7; A-21, ¶5; Kendrick, ¶5; Declaration of
Johnny Hill (Johnny Hill), ¶4; Jeremiah Hill, ¶5.


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privileges, for weeks or months at a time. Ex. G-7; Exs. C-5, 374:6-378-12; D-4 at

Nos. 99-104. Except for those in CM III, any visits that do occur are non-contact,

forcing people to talk to their loved ones through thick glass and a metal grate while

fully restrained. FAC 33-601.800(11)(6)(d). FDC denies dayroom—a barren

common area with only benches or metal tables and chairs—access for those in AC,

DC, MM or CM I, and, as discussed below, people in CM II and III do not

consistently receive the few hours of dayroom afforded under FDC policies. Ex. C-

7, 421:7-11.

          FDC also denies people environmental stimulation in isolation. FDC does not

provide vocational programming for anyone in isolation, withholds job assignments

from the vast majority, and provides limited rehabilitative programming to only a

select few of the people in CM II and III, if that. Pacholke Decl., ¶¶ 38, 49; Ex. C-

5, 574:9-17, 577:24-578:6. FDC prohibits televisions in isolation cells, and does not

provide radios. Pacholke Decl., ¶40. People in CM and AC, and MM only after 12

months, can buy Walkman radios and batteries if they have the funds from family or

friends. Id. No one has access to tablets, except for those in CM III when and if

officers let them into the dayroom to charge them.15 Ex. C-7, 411:14-412:12. FDC




15
     See e.g., Exs. A-4, ¶14; A-16, ¶16; A-23, ¶¶7,10; A-1, ¶11; A-28, ¶6; A-7 ¶9.



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restricts access to books and periodicals in all types of isolation. 16 Pacholke Decl.,

¶39. Indeed, FDC does not even let people hang artwork or family photos on the

cell walls so they have something to stare at other than concrete, steel, and filth while

they deteriorate in forced idleness. Ex. B-7, ¶21.

        FDC also deprives people in isolation of regular exercise. Other than inside

their tiny cells, the only place FDC permits people in isolation to exercise is in an

outdoor fenced-in cage,                                                           , resembling

a dog kennel. Exs. C-7, 404:11-17; B-4; B-11. Inside are                                      ,

                                                                                   . Exs. B-3;

B-5; B-11. Yet, even these cages are off-limits during the first 30 days in isolation.

Pacholke Decl., ¶47. After that, FDC allows a maximum of two hours, three times

a week, for people in CM; three hours a week for people in DC and AC; and two

hours a week after six months in MM. Id. This policy violates ACA standards, and,

in practice, most people do not receive even this meager amount. 17 Pacholke Decl.,

¶48.




16
  See e.g., Exs. A-3, ¶18; A-22, ¶9; A-12, ¶12; A-11, ¶12; Jeremiah Hill, ¶7; Burgess, ¶32;
Johnny Hill, ¶11.
17
 See, e.g., Exs. A-3, ¶19; A-4 ¶8; A-6, ¶¶10-11; A-8, ¶10; A-9, ¶29; A-12, ¶13; A-16, ¶15;
Kendrick ¶14; Jeremiah Hill ¶9; Espinosa ¶9.



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       C. FDC Subjects All People in Isolation to Oppressive and Unnecessarily
          Punitive Security Measures.

       On top of these deprivations of basic human needs, FDC regularly subjects

people in all forms of isolation to needlessly harsh and punitive strip searches,

mechanical restraints, cell searches, property restriction, chemical agents, and cell

extractions. Pacholke Decl, ¶52-60, 63, 65-66, 68-69.

       FDC prohibits people in isolation from leaving their cells without mechanical

restraints, a strip search, and a cell search.



              . Ex. B-7, ¶20. FDC requires staff to “thoroughly search” or “

       ” every person whenever they leave their cell or unit.                        FAC 33-

601.800(14)(a)(3), 33-601.820(9)(b)(7), 33-602.220(6)(c), 33-602.222(6)(c); Ex. B-

7, ¶7. In practice, staff conduct these searches by requiring people to remove all

their clothes, lift their genitals, squat, and cough, with no privacy, and sometimes

while officers laugh and sexually harass them.19

                                              . Ex. B-7, ¶21. In practice, staff—at the



18
  The “black box” is a metal device that is locked over a pair of handcuffs and is typically
affixed to a waist chain so that the individual is unable to move their hands and arms away from
and higher than their waist.
19
  See, e.g., Exs. A-22, ¶ 11; A-28, ¶12; A-31, ¶8; A-1, ¶23; A-5, ¶21; A-4, ¶11; A-11, ¶15; A-2,
¶21; A-18, ¶¶13,19; A-9, ¶31; Burgess, ¶ 26; Jeremiah Hill, ¶10; Harvard, ¶19; Ferguson, ¶12;
Johnny Hill, ¶17.



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direction of leadership—use cell searches to “wreak havoc” like a “hurricane” any

time a person leaves their cell by going through all their belongings, scattering their

legal papers, opening and emptying their hygiene products, and generally making a

mess of their cells. 20 Ex. B-8 at 4; Ex. F-1 at 9; Ex. F-2 at 2; Pacholke Decl., ¶¶ 52-

53, 63, 68.

       FDC also routinely uses extreme security measures in isolation: including,

property restriction (known as “strip” by people in isolation), chemical agents, and

cell extractions. Pacholke Decl., ¶¶54-60, 63, 65-66, 68; Venters Decl., ¶¶ 30-31,

41. FDC permits staff to remove “any item” to “prevent the inmate from inflicting

injury to himself or others or to prevent the destruction of property or equipment,” a

practice known as “property restriction.” FAC 33-601.800(10)(1). As a matter of

course, property restriction involves stripping someone down to their underwear and

removing all state and personal property, including hygiene items and mattresses,

for 72 hours. 21 Pacholke Decl., ¶¶ 54-55; Burns Decl., ¶ 21; Ex. C-7, 385:1-18. FDC

uses property restriction for transgressions as minor as having property in the wrong

place or failing to get dressed or make the bed. Ex. G-1; Pacholke Decl., ¶¶ 58-60.


20
  See, e.g., Exs.A-15, ¶14; A-6, ¶14; A-27, ¶10; A-20, ¶9; A-22, ¶10; A-7, ¶11; A-14, ¶7; A-24
¶23; A-25, ¶13; Espinosa, ¶9; Burgess, ¶27; Kendrick, ¶16; Harvard, ¶6; Ferguson, ¶12,
Jeremiah Hill, ¶ 10; Johnny Hill, ¶16.
21
  See, e.g., Exs. A-21, ¶10; A-9, ¶33; A-1, ¶19; A-14, ¶8; A-28, ¶13-14; A-16, ¶11; A-2, ¶24-25;
A-3, ¶21; A-26, ¶13; A-10, ¶11; A-18, ¶10-11; Harvard, ¶16; Ferguson, ¶13; Burgess, ¶22;
Johnny Hill ¶14.



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       FDC uses physical force and chemical agents on people in isolation at an

alarming frequency, often for behaviors likely related to psychological

decompensation such as yelling and self-harm. 22 Pacholke Decl., ¶¶ 63, 66, 70-71;

Kraus Decl., ¶¶ 51-52. FDC also commonly conducts cell extractions, in which a

team of officers in riot gear enter a cell to forcibly remove someone in isolation—

including in response to people in mental distress. Haney Decl., ¶¶ 60, 70; Pacholke

Decl., ¶ 66. This practice often results in people being slammed into the floor or

wall by an officer’s shield, beaten, restrained, and dragged from their cells.23

       D. FDC Routinely Denies People in Isolation Even the Minimum
          Programming Provided Under FDC’s Written Policies.

       In practice, FDC systemically denies people in isolation even the scant

programs and services permitted under FDC’s written policies.

       First, FDC’s admittedly dangerous levels of understaffing result in the failure

to provide people in isolation with services including recreation, dayroom, phone

calls, and security checks. 24 Ex. G-2 at 3; G-3 at 3; G-4 at 3 (suicides occurred in


22
  See, e.g., Exs. A-30, ¶9; A-22, ¶14; A-11, ¶16; A-19, ¶¶9, 15; A-10, ¶14; A-12, ¶15; Burgess,
¶23; Kendrick, ¶¶5, 9.
23
  See, e.g., Exs. A-8, ¶¶12-13; A-1, ¶20; A-11, ¶16; A-2, ¶¶22-23; A-16, ¶18; A-25, ¶16;
Ferguson, ¶¶13,15; Jeremiah Hill, ¶13.
24
   See Laura Cassels, FL Legislature 2021: Top Corrections Chief Says State Prison System is in
Crisis and Could Collapse, Fla. Phoenix, (Feb. 22, 2021),
https://www.floridaphoenix.com/2021/02/22/fl-legislature-2021-top-corrections-chief-says-state-
prison-system-is-in-crisis-and-could-collapse/; see also Study of Operations of the Florida.



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units that were short-staffed); G-5 at 2 (FDC Deputy Secretary states “we are at a

breaking point”).

      Second, FDC denies many people in CM purported CM privileges because

FDC concurrently assigns them to AC or DC, or because FDC has suspended their

privileges. For example, when FDC approves people for CM but has not transferred

them to a CM facility, FDC assigns them to both CM and AC. Exs. G-11 (298

people in AC/CM); C-4, 136:25-137:24. When FDC finds people in CM guilty of a

rule violation, it assigns them to both CM and DC. Exs. D-3 at Nos. 98, 105, 106;

E-6 (797 people in DC/CM). FDC uses the more restrictive status to determine

privileges. Exs. C-5, 374:6-378-12; D-3 at Nos. 99-104. Additionally, FDC has a

policy and practice of suspending CM privileges, such as visitation, recreation, and

dayroom access for months or years at a time, or indefinitely, in response to rule

violations. Exs. C-7, 426:24-430:11; G-7; C-2, 32:7-34:18; C-3, 48:9-49:22.

      Third, FDC pressures people in isolation to refuse showers, recreation,

dayroom, and healthcare appointments to avoid repercussions based on its policies

and practices such as: degrading strip searches and restraints; destruction of property



Department of Corrections, Fla. Legislature Office of Program Policy Analysis & Gov’t
Accountability, 41 (Nov. 2015),
https://www.prisonlegalnews.org/media/publications/Study%20of%20Operation%20of%20the
%20FL%20DOC%2C%20CGL%2C%202015.pdf.




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during cell searches; and rampant use of disciplinary charges, chemical agents, and

physical assault by correctional officers. 25 Pacholke Decl., ¶¶ 46, 52-53, 63, 65, 68-

69.

       E. FDC’s Policies and Practices Create a Substantial Risk of Serious
          Harm to People in Isolation.

       As a result of the cumulative effect of lack of human contact, exercise, and

environmental stimulation; cell conditions; and oppressive security measures, FDC

subjects everyone in isolation to a substantial risk of serious harm. Declaration of

Dr. Craig Haney (Haney), ¶¶11, 14, 54, 82, 84-86; Declaration of Dr. Kathryn Burns

(Burns Decl.), ¶22; Declaration of Dr. Homer Venters (Venters Decl.), ¶62;

Declaration of Dr. Louis Kraus (Kraus Decl.), ¶¶32, 50. Numerous scientific studies

confirm that people disproportionately suffer from devastating psychological and

physical symptoms when forced to endure deprivations of basic human needs in

isolation conditions. Haney Decl., ¶¶11-14; 19-42; 45-53; Venters Decl., ¶¶18-20;

Burns Decl., ¶¶13-15; Kraus Decl., ¶¶19-26. Psychological symptoms include:

       appetite and sleep disturbances, anxiety, panic, a sense of impending
       emotional breakdown, lethargy, hypersensitivity to stimuli, irritability,
       aggression, rage, loss of control, ruminations, paranoia, perceptual
       distortions, cognitive dysfunction, hallucinations, depression, self-
       mutilation, suicidal ideation and behavior, and social withdrawal.




25
  See, e.g. Exs. A-21, ¶8; A-9, ¶30; A-27, ¶10; A-29, ¶¶ 8-9; A-4, ¶¶9-11; A-6, ¶14; A-15, ¶13;
A-1, ¶¶22-24; Harvard, ¶6; Jeremiah Hill, ¶10; Burgess, ¶¶26-27; Johnny Hill, ¶17.


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Haney Decl., ¶ 28; see also Burns Decl., ¶ 14; Kraus ¶¶19-25. In addition, the stress

from social isolation and inactivity, and barriers to exercise and healthcare, often

exacerbate and create new physical illnesses and injuries. Haney Decl., ¶¶22-24,

27-29, 38-39; Burns Decl., ¶14; Venters Decl., ¶¶19, 21, 42, 57; Kraus Decl., ¶¶35,

39.

       The conditions and deprivations in FDC isolation mirror the conditions and

deprivations that scientists have studied for decades. Haney Decl., ¶¶14, 54, 61, 84-

86; Burns Decl., ¶21; Venters Decl., ¶¶18-21, 29, 62; Kraus Decl., ¶¶48, 50.

Plaintiffs’ four nationally-renowned healthcare experts have inspected eight FDC

prisons to observe isolation conditions, privately interviewed at least 125 class

members, spoken to several hundred additional class members at cell-front, and

reviewed voluminous FDC records. Haney Decl., ¶10; Burns Decl., ¶¶8-11; Venters

Decl., ¶¶11-17; Kraus Decl., ¶¶12-16.         Based on this information, they have

identified the same types of symptoms in the Plaintiff class documented in the

scientific research about isolation. Haney Decl., ¶¶14, 54, 61, 69, 84-86; Burns

Decl., ¶26; Venters Decl., ¶62; Kraus Decl., ¶¶39, 50.

       Plaintiffs’ experts also found that two particularly vulnerable groups, youths

under age 21 and people with serious mental illness, suffer from a heightened risk

of harm in FDC isolation. Haney Decl., ¶¶15, 43-53, 61-62, 69-70, 83, 86; Burns

Decl., ¶¶23, 25; Kraus Decl., ¶¶19-26, 39, 50-52. It is firmly established that youths



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are especially susceptible to mental health consequences when isolated from others

because they are still developing socially, psychologically, and neurologically.

Kraus Decl., ¶¶19-26. Researchers also agree that people with serious mental illness

face a particularly high risk of serious harm because the conditions in isolation tend

to worsen pre-existing symptoms such as paranoia, hallucinations, depression, and

anxiety, including those that could result in serious self-injury or suicide. Haney

Decl., ¶¶15, 43-53, 61-62, 69-72, 83, 86; Burns Decl., ¶¶13-15, 22; Kraus Decl.,

¶19-21, 25. Despite these increased vulnerabilities, FDC isolates hundreds of youths

and people with serious mental illness on any given day—although the number of

people with undiagnosed serious mental illness undoubtedly includes hundreds or

thousands more.

      One of the most telling indicators of how this risk of harm in FDC isolation

manifests is the drastically and disproportionately high suicide rate. From 2015 to

2019, the 10% of the FDC population who were housed in isolation units accounted

for 58% of the suicides in FDC custody. Haney Decl., ¶81. The graph below shows

the disproportionate suicide rate in isolation by year.




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These suicides are only the tip of the iceberg; for every person who completes a

suicide, there are many more attempts or acts of self-harm, and experiences of acute

psychological distress. Haney Decl., ¶¶ 29, 42, 53, 79; Burns Decl., ¶¶14, 39;

Venters Decl., ¶20; Kraus Decl., ¶¶20-21.

      F. FDC Fails to Implement a System to Ensure Reasonable
         Accommodations for People with Disabilities in Isolation.

      By policy, FDC identifies and tracks people in their custody who qualify as

having a disability as defined under the Americans with Disabilities Act (ADA). Ex.

F-4 at 4. This system shows that people with physical and/or mental disabilities, as

identified by FDC, comprise a substantial percentage of the approximately 9,000

people in isolation across the state. For instance, according to FDC, of the 3,940

people isolated in Close Management in 2019, 23% (897) were diagnosed with a



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serious mental illness. Ex. E-5 at 3. That number does not account for the people

with serious mental illness in AC, DC, MM, where the other two-thirds of FDC’s

isolated population is confined. Id. FDC also reported that, as of April 27, 2021,

there were 81 people with mobility, hearing, or vision disabilities, and 14 people

with developmental disabilities in restrictive housing. Ex. G-11. This does not

include people with medical disabilities, such as diabetes and seizure disorders. But

despite these numbers, FDC does not exclude anyone from isolation based on

disability or pre-existing health condition, with the possible exception of some

people with diagnosed intellectual disabilities. Exs. C-8, 123:7-124:20; D-3 at Nos.

35–70, 75 – 78; G-11.

      FDC performs only one health-related assessment when a person is entering

isolation (“pre-special housing assessment).” Ex. G-8 at 3-4. In this assessment, the

nurse briefly observes the person, often while the individual is restrained in a shower

or through a grille gate in a holding cell, and reviews their medical records. Exs. G-

8 at 3-4; C-1, 34:9–36:6, 38:17–39:5, 44:22–47:2. The assessment form requires the

health care provider to indicate: (1) if someone has “infirmities or impairment,” and

what those are; and (2) if the person already had an accommodation for that disability

prior to their placement in isolation that will remain with them in isolation. Exs. B-

10; C-1, 20:12–22:3. The nurse always completes this observation in the presence

of officers. Ex. C-1, 40:11–40:13. Often, the interaction is limited to an inquiry



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about injuries and/or complaints related to use of force connected to the isolation

placement. Ex. C-1, 38:17– 39:5.

          The substantial differences between general population and isolation can

impact even the most basic needs for communication, programs, and services for

persons with disabilities. However, FDC does not have any policy, procedure, or

practice for evaluating whether any additional accommodations are needed for

people with disabilities in isolation. Exs. G-8; C-1, 231:9-232:12, 253:11–254:8; C-

9, 74:24 – 75:4. For example, someone who is blind may have had informal access

to other incarcerated people to help them read and write letters while in the general

population. When individuals are confined alone in isolation, this is often not the

case.26 FDC does not assign assistants to people with physical disabilities in

isolation like it often does for people with physical disabilities in general population,

which may be necessary, for example, to allow people with vision impairments to

read and respond to letters from family, or to assist people with activities of daily

living for which they receive help while in the general population.27 Ex. C-10,

64:23-66:1, 77:23-78:5.

          Moreover, FDC does not routinely provide means for people with

communication deficits in isolation to communicate during security checks or

26
     See, e.g., Johnny Hill, ¶12; Ex. A-5, ¶¶7-12.
27
     See, e.g., Exs. A-3, ¶11; A-4, ¶23; A-5, ¶8.



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nursing rounds, or in an emergency through, for example, the use of a call button.28

Exs. D-3 at Nos. 175-178; C-10, 84:6–85:7, 85:21-87:4. While someone who is

deaf, blind, or unable to speak may be helped by others in general population to

know when officers are present or to get assistance in an emergency, no such help is

available in isolation.

          FDC does not provide exercise equipment for people with physical disabilities

in the bare recreation cages or exercise plans to assist people with physical

disabilities to exercise in their tiny cells.29 Exs. C-10, 61:24–62:12; C-9, 103:25–

105:18. Nor will FDC modify a double-cell assignment in isolation for a wheelchair

user so that they can more readily maneuver around the tiny cell they are locked in

day and night without running into their cellmate. 30 Ex. C-9, 77:19–78:6. FDC also

does not provide any additional out-of-cell time as an accommodation for

individuals with mobility or medical disabilities in isolation who, for example, need

more time to ambulate to and from the shower or recreation, or to avoid worsening

medical symptoms. Ex. C-10, 61:15–61:23.

          In practice, the accommodations FDC provides someone with physical

disabilities in isolation are generally limited to assistive devices, despite needs for



28
     See, e.g., Burgess, ¶¶19-20; Espinosa, ¶¶12-13; Ex. A-30, ¶¶4,6.
29
     See, e.g., Exs. A-3, ¶19; A-6, ¶11; A-26, ¶7; Burgess, ¶¶29-30.
30
     See, e.g, Burgess, ¶10; Exs. A-4, ¶17; A-6 ¶7.


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other accommodations. Exs. C-1, 230:3–233:11, 253:12–254:8; C-9, 75:5-76:18;

C-10, 61:15-61:23; B-10; G-8. Even then, FDC fails to consider how isolation

practices may need to be modified to allow people to use their assistive devices. For

example, while FDC policy permits people with visual impairments to have a talking

book player in isolation, the talking book players need to be charged. Ex C-10, 39:24

– 40:7. In general population, there are outlets people can use in the dayroom, but

in isolation, the cells have no outlets and there is no procedure for people to request

charging for their talking book players.31 Ex. C-10, 40:8–41:6.

          Similarly, by policy and procedure, FDC does not consider or provide any

accommodations for persons with serious mental illness housed in isolation to

address how the conditions and deprivations of FDC’s restrictive housing exacerbate

mental health symptoms. Mental health staff play no role in the pre-special housing

assessment, nor does the nurse performing the assessment evaluate whether any

mental health-related accommodations are needed. Ex. C-8, 56:24– 57:2; 57:15-

57:24.

          Following an individual’s placement in isolation, there is a mental health

special screening evaluation, but FDC does not use this evaluation to identify

reasonable accommodations for people with serious mental illness. Ex. G-8 at 5-6;

C-8, 57:25 - 58:5. Depending on a person’s previously diagnosed mental health


31
     See also Ex. A-6, ¶22.


                                          23
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level, FDC can wait up to 30 days after placement in isolation to complete this

evaluation. Ex. G-8 at 4. Mental health staff also are required to perform a Close

Management Referral Assessment to determine whether someone needs inpatient

mental health treatment. Exs. G-8 at 7; C-8, 100:6–100:18, 101:1–101:10; D-2. If

a person is determined not to require inpatient treatment, they are simply approved

for Close Management, but FDC does not consider whether any other

accommodations are appropriate for that person in isolation based on mental illness.

Exs. D-2; C-8, 110:10–16.      Despite the knowledge that the isolation’s stark

conditions are particularly devastating to people with mental illness and can hinder

access to services that may maintain their mental health to the same degree as

someone without serious mental illness, FDC makes no accommodation for

psychiatric disabilities. For example, FDC does not modify its isolation policies to

provide people with serious mental illness access to additional out-of-cell time or

sensory stimulation that may assist in preventing their mental health from

deteriorating. Ex. C-8, 185:1–185:20; FAC 33-601.800, 33-601.820, 33-602.220,

33-602.222.

      Not only does FDC fail to meaningfully assess whether people with

disabilities require accommodations specific to the conditions of isolation, but

FDC’s policies and practices make it impermissibly difficult for a person housed in

isolation to request and obtain reasonable accommodations.         FDC splits the



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responsibility for requests for accommodation and assistance between two different

bureaus: the Office of Health Services (OHS) and the central office ADA

Coordinator and their staff. Exs. C-10, 21:25–22:6; C-9, 20:6 – 21:1; F-3; G-9. Each

requires a different form and procedure to request an accommodation. Exs. F-3; G-

9; C-10, 27:2–28:10; C-9, 21:2–21:6. FDC does not provide people in restrictive

housing any guidance or instruction about how to determine which request must be

submitted to which office. Even though the OHS and ADA teams share a common

email distribution group, if a person submits a request to OHS that should have been

submitted to the ADA coordinator, OHS will reject the request and tell the person to

start the entire process over, and vice versa, extending the time that a person may be

without a reasonable accommodation. Exs. C-10, 23:25–25:10, 27:2– 29:13; C-9,

21:13–22:22, 94:21–95:12. FDC’s position is that this is appropriate rather than for

the OHS and ADA offices to communicate about the accommodations because

“[t]he inmate themselves, they have the responsibility to follow the proper

procedure.” Exs. C-9, 98:14–98:24; Ex C-10, 27:20–28:10. This system prevents

people from receiving even the minimum available accommodations in isolation—

certain assistive devices—in a timely manner.

      Finally, even when a person with a physical disability enters isolation with an

assistive device or manages to secure one while in isolation, FDC fails to ensure that

they can retain and utilize that device during their time in isolation. Prior to 2018,



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FDC’s policy and practice was to remove assistive devices from everyone placed in

isolation as a security measure, with no individual assessment about whether the

person was using the device appropriately. Ex. C-1, 247:14–249:9. Although FDC

purports to have changed its policies, it remains the widespread institutional practice

to withhold assistive devices from people while they are in isolation. 32 Exs. C-1,

282:11–283:25, 284:21–285:10; C-9, 59:3–63:13; G-5; G-6.                      Moreover, under

current policy and practice, officers continue to be permitted to use the discretionary

practice of “property restriction” to limit people’s access to their property in isolation

for up to 72 hours, including by removing people’s assistive devices. 33 Ex. C-7,

379:18–380:21. Unlike a permanent removal of an assistive device, staff are not

required to document whether they have confiscated an ADA assistive device, and

there is no FDC policy or procedure for reviewing property restriction practices for

inappropriate removal of assistive devices. Ex. C-10, 58:1-58:10; Ex C-9, 86:2–

86:25; C-1, 109:24-110:21; C-7, 392:19-394:12.




32
  See, e.g., Exs. A-6, ¶¶19-25; A-3; ¶¶8-15; A-4, ¶¶6-8; A-5, ¶¶3-4; A-30, ¶¶3-7; A-7, ¶¶3-4;
Johnny Hill, ¶¶10-13; Burgess, ¶¶14-15.
33
     See, e.g., Exs. A-4, ¶12; A-5, ¶20; A-7, ¶12; A-26, ¶13; Burgess, ¶22.


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          G. Named Plaintiffs Are Subject to a Substantial Risk of Serious Harm
             and Disability Discrimination in Isolation.

          Named Plaintiffs are all currently incarcerated in various FDC prisons. Each

has spent months or years in some combination of AC, DC, CM, or MM.34

          Although they each suffer from the same threshold risk of harm, Named

Plaintiffs are vulnerable in different ways to the conditions, and failures to

accommodate their disabilities, in isolation. FDC diagnosed Plaintiffs Harvard,

Espinosa, Ferguson, Dean, and Johnny Hill with serious mental illness; Plaintiff

Kendrick with depression and insulin-dependent diabetes; and Plaintiff Burgess with

depression and a seizure disorder. 35 Plaintiff Burgess also uses a wheelchair.36

Plaintiff Espinosa is unable to speak.37 Plaintiff Jeremiah Hill is only 19 years old;

FDC first placed him in isolation at only 14 years old.38 Each of them is dedicated

to serving as named plaintiffs in this action.




34
  Kendrick, ¶3; Ferguson, ¶¶5-6; Burgess, ¶4; Espinosa, ¶7; Harvard, ¶¶3-4; Johnny Hill, ¶¶2-3;
Jeremiah Hill, ¶3; Ex. A-1 (Dean), ¶4.
35
  Harvard, ¶10; Espinosa, ¶4; Ferguson, ¶4; Johnny Hill, ¶5; Kendrick, ¶¶5-7; Burgess, ¶¶5-8;
Ferguson, ¶4; Ex. A-1 (Dean), ¶3.
36
     Burgess, ¶6.
37
     Espinosa, ¶5.
38
     Jeremiah Hill, ¶3.


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   III.   ARGUMENT

      A. Plaintiffs Satisfy the Numerosity, Commonality, Typicality, and
         Adequacy Requirements of Rule 23(a).

      For a district court to certify a class, Named Plaintiffs must satisfy the

numerosity, commonality, typicality, and adequacy of representation requirements

of Rule 23(a) and at least one of the requirements of Rule 23(b). Valley Drug Co. v.

Geneva Pharm., Inc., 350 F.3d 1181, 1187-88 (11th Cir. 2003). Plaintiffs meet these

requirements.

             1. The Size of the Class and Subclasses Satisfy Numerosity.

      The proposed class and subclasses are each “so numerous that joinder of all

members is impracticable.”      Fed. R. Civ. P. 23(a)(1).     The Eleventh Circuit

recognizes that “generally less than twenty-one [members] is inadequate, more than

forty adequate, with numbers between varying according to other factors.” Cox v.

Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986). But “[a] plaintiff

need not show the precise number of members in the class.” Jones v. Desantis, No.

4:19cv300-RH/MJF, 2020 WL 5646124, at *3 (N.D. Fla. April 7, 2020) (citation

omitted). Rather, it is sufficient to show that joinder would be impracticable or that

certification promotes judicial economy. Hill v. Butterworth, 170 F.R.D. 509, 514

(N.D. Fla. 1997); Braggs v. Dunn, 317 F.R.D. 634, 653-54 (M.D. Ala. 2016).

      FDC subjects at least 9,000 people to the same, systemic isolation policies and

practices on any given day. Exs. B-6; C-4, 148:20-150:20. This number includes

                                         28
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approximately 160 youths under age 21. Exs. G-11; E-1 (17 and under). It also

includes at least 897 persons FDC has identified as being diagnosed with a serious

mental illness and at least 81 persons FDC has identified as having a physical

disability. Exs. E-5 at 3; G-11. Thus, the proposed classes and subclasses are so

numerous that joinder of all members would be impracticable, and class certification

promotes judicial economy by avoiding scores of lawsuits that would raise the same

issues and seek the same relief. See e.g., Hill, 170 F.R.D. at 514 (N.D. Fla. 1997);

Braggs, 317 F.R.D. at 654.

      The fluid nature of the proposed class and subclasses—including

unidentifiable future members who revolve in and out of isolation—also support

class certification. See Kilgo v. Bowman Transp. Inc., 789 F.2d 859, 878 (11th Cir.

1986) (affirming a certified class of 31 present members as well as future members

who could not be identified); see also Braggs, 317 F.R.D. at 653 (noting the fluid

nature of the class in the prison litigation context especially counsels in favor of

certification). For example, joinder is impracticable for Youth Subclass members

who move in and out of restrictive housing multiple times before reaching age 21.

Similarly, joinder is impracticable for people with a serious mental illness who often

cycle between the general population, isolation, and inpatient mental health units

due to the nature of their disability. Ex. D-1 at EHA00056481, EHA00056483. The

inclusion of these unidentified class and subclass members seeking only injunctive



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and declaratory relief “actually bolsters a finding of the requisite numerosity.” Hill,

170 F.R.D. at 514.

              2. The Class and Subclasses Satisfy Commonality Because Their
                 Claims Present Common Issues of Fact and Law Capable of
                 Classwide Resolution.

      To meet the commonality requirement, there must be “questions of law or fact

common to the class.” Rule 23(a)(2). Class members must suffer the same injuries,

and the claims arising out of those injuries “must depend upon a common contention

. . . of such a nature that it is capable of classwide resolution—which means that the

determination of its truth or falsity will resolve an issue that is central to the validity

of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 350 (2011). “[W]hat matters to class certification … [is] the capacity of a

classwide proceeding to generate common answers apt to drive the resolution of the

litigation.” Id. (emphasis in original). “[E]ven a single common question will do.”

Carriuolo v. Gen. Motors Co., 823 F.3d 977, 984 (11th Cir. 2016). Plaintiffs satisfy

commonality because they challenge systemic, statewide policies; their claims raise

questions of fact and law common to all members of the proposed class and

subclasses; and their claims are capable of classwide resolution.

                 a. Eighth Amendment Claim

        Plaintiffs’ Eighth Amendment claim meets the commonality requirement

because FDC’s systemic isolation policies and practices subject all people in



                                            30
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isolation to the same substantial risk of serious harm. Farmer v. Brennan, 511 U.S.

825, 834 (1994) (Eighth Amendment standard met when there are “objectively,

sufficiently serious” conditions causing a substantial risk of serious harm to which

prison officials are deliberately indifferent); see also Parsons v. Ryan, 754 F.3d 657,

678 (9th Cir. 2014) (“[E]very inmate suffers exactly the same constitutional injury

when he is exposed to a single statewide . . . policy or practices that creates a

substantial risk of serious harm.”). Plaintiffs’ Eighth Amendment claim also raises

common questions that, when answered, will resolve all class members’ claims. See

Wal-Mart, 564 U.S. at 350; see also Dockery v. Fischer, 253 F. Supp. 832, 853-855

(S.D. Miss 2015) (finding commonality because the answers to the common

questions regarding prison officials’ knowledge of a risk of harm and any responsive

action would resolve the Eighth Amendment claims).

                  i.   FDC’s isolation policies and practices are systemic and
                       common.

      As an initial matter, the threshold question for class certification for Plaintiffs’

Eighth Amendment claim is whether FDC’s isolation policies and practices are

systemic and common to all members of the class, not whether FDC, through those

policies and procedures, violates the Eighth Amendment.             See Amgen Inc. v.

Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013) (holding that merits

questions are to be considered only to the extent they are relevant to the Rule 23

determination); Braggs, 317 F.R.D. at 655 (“[Plaintiffs] need to show that the

                                           31
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policies and practices they challenge are common, not (yet) that the common

policies and practices are unconstitutional.”).

      There is ample evidence of FDC’s systemic and common isolation policies

and practices. FDC regulates the conditions in isolation through its centralized

policies for operations in AC, DC, CM, and MM that apply across all prisons.

Despite the differing labels, FDC recognizes the conditions are substantially similar,

referring to all forms, collectively, as “restrictive housing.” Each unit also meets

both the DOJ’s and the ACA’s definitions of “solitary confinement.”

      FDC’s system-wide implementation of its isolation policies establishes a

single, statewide policy and practice that isolates all class members in the same way:

FDC locks them in tiny, decrepit cells for 22 to 24 hours a day for months and years

on end; deprives them of normal human contact, environmental stimulation, and

exercise; and subjects them to dehumanizing, punitive, and unnecessary security

measures.

      In all forms of isolation, FDC deprives people of normal human contact by

prohibiting or severely restricting phone calls, personal visits, dayroom access, and

conversations with other people in isolation. Any “human” contact that does occur

in isolation is abnormal, even within the prison context, because it happens through

barriers such as a closed cell door, glass window, steel mesh, or fence; under threat

of punishment; and under close monitoring by correctional officers. Even when two



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people are isolated in the same cell, the nature of their interactions is dehumanized

by being forced to spend 22 or more hours each day in one cramped space, eating,

sleeping, and defecating with a stranger. 39                    Haney Decl., ¶18.               There is no

opportunity for affectionate or even neutral human touch.40 Rather, class members

are touched only by prison staff in order to be restrained, examined, or controlled.

During their rare out-of-cell time, people in isolation can interact with others only

while restrained at the hands and feet, or in a “recreation” cage the size of a dog

kennel that dehumanizes them and separates them from others. They are further

dehumanized when their meal trays are delivered through a slot in the door and

officers peer through the window during security checks.41

          In all forms of isolation, FDC deprives people of environmental stimulation.

They spend each day within the same four drab, moldy walls that FDC forbids them

from putting anything on, even family photos or art. In many cells, they cannot see

even a sliver of the outside world though their frosted window. Officers threaten to

punish anyone who stands and looks out their cell door.42 There is not even a mirror




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     See, e.g., Exs. A-4, ¶17; A-8, ¶9; A-9, ¶25; A-10, ¶9; A-13, ¶10; Kendrick ¶10; Burgess ¶35.
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     See, e.g. Exs. A-2, ¶¶18-19; A-11, ¶10; A-18, ¶16; A-25, ¶9; Harvard, ¶12.
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     See, e.g., Exs. A-15, ¶9; A-3, ¶10; Kendrick ¶¶5,11.
42
     See, e.g., Exs. A-4, ¶¶4, 19; A-9, ¶3; A-24, ¶18; A-29, ¶5; Burgess, ¶31; Ferguson, ¶10.



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to look at their reflections. 43 Access to programming, job assignments, and books is

extremely limited if available at all.

           In isolation, FDC deprives people of sufficient exercise. FDC’s written

policies allow at most two hours of out-of-cell exercise three days a week, but few

people receive even this because officers routinely refuse to provide it. This minimal

amount of exercise takes place in a 10 by 20 feet “dog run” cage that is empty except

for dip and pull-up bars, most without any roof or other shield from the Florida sun

and rain.

           As a matter of course, FDC subjects people in all forms of isolation to

oppressive security measures rarely used in general population. Any time someone

in isolation leaves or returns to their cells or housing unit, officers subject them to

intrusive strip-searches and layers of mechanical restraints. While they are away

from their cells, officers search all their belongings, often destroying or leaving their

few precious possessions, such as family photos and letters, in disarray. Officers

also frequently spray people in isolation with searing chemical agents, forcibly

remove them from their cells (“cell extraction”), and confiscate all their property

(“property restriction”), leaving them naked except for their underwear to sleep on

a metal bedframe for up to 72 hours.




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     See, e.g., Exs. A-23, ¶6; A-1, ¶7.


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      None of these conditions and deprivations common to FDC’s isolation units

throughout the system are in dispute because FDC’s written policies expressly

require them. Thus, “[p]laintiffs have offered more than adequate evidence to

establish the existence of the common policies and practices they challenge.”

Braggs, 317 F.R.D. at 657 (finding commonality when plaintiffs pointed to “very

concrete policies and practices . . . that undisputedly occur”).

                  ii.   FDC’s systemic isolation policies and practices cause the
                        same injury of a substantial risk of serious harm.

      Through the conditions and deprivations described above, FDC subjects all

people in isolation to the same baseline, substantial risk of serious mental and

physical harm.     See Helling v. McKinney, 509 U.S. 25, 35 (1993) (holding

cognizable injury under Eighth Amendment is the “unreasonable risk of serious

damage to … future health”). Plaintiffs’ experts have found that, in fact, people in

FDC isolation suffer devastating health consequences consistent with the harms

documented in the scientific research about solitary confinement. Burns Decl., ¶¶22,

26, 39; Kraus Decl., ¶¶27, 32, 39, 46-52.; Venters Decl., ¶¶29, 42, 62; Haney Decl.,

¶¶54, 58, 84-85. Thirty putative class members also submit declarations in support

of this motion in which they describe in excruciating detail the harmful effects of

isolation they have experienced. Exs. A2-A31.

      While the Youth and SMI Subclasses share the same threshold risk of harm

as the Plaintiff Class, the risk of harm isolation poses to these subclasses is also

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amplified because of their youth and mental illness, respectively. Again, Plaintiffs’

experts have found these same severe mental health consequences are present in the

Youth and SMI Subclasses in FDC. Haney Decl., ¶¶61, 68-72, 81-83, 86; Kraus

Decl., ¶¶32, 38-40, 46-52; Burns ¶¶23, 26, 40-41. Indeed, FDC itself has recognized

this risk for the SMI Subclass by creating a Secure Treatment Unit to remove a small

number of them from prolonged isolation. Ex.G-10 at 3.

      Through this evidence, Plaintiffs meet their burden to show that FDC’s

systemic isolation policies and practices are the “alleged source of the harm to class

members.” Groover v. Prisoner Transp. Servs., LLC, No. 15-CV-61902, 2018 WL

6831119, at *10–11 (S.D. Fla. Dec. 26, 2018) (finding commonality based on expert

testimony that systemic policies created risk of harm); Lippert v. Baldwin, No. 10 C

4603, 2017 WL 1545672, at *5 (N.D. Ill. Apr. 28, 2017) (commonality satisfied

where expert report identified policies creating risk of harm based on inspections,

interviews, and record reviews); Parsons, 754 at F.3d 683 (finding common policy

allegedly caused risk of harm based on expert reports, internal prison documents,

and named plaintiffs’ declarations).

                 iii.   Plaintiffs’ challenge to FDC’s isolation policies and
                        practices raises common questions susceptible to
                        classwide proof and resolution.

       Plaintiffs’ Eighth Amendment claim raises common questions that will drive

the resolution of this litigation. To succeed on the merits, Plaintiffs must prove that


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FDC’s isolation policies and practices create a substantial risk of serious harm and

FDC is deliberately indifferent to this risk. Farmer, 511 U.S. at 834; Helling, 509

U.S. at 35.    One common question is whether the cumulative impact of the

deprivations and conditions in isolation subject all class members, regardless of their

individual risk factors, to a substantial risk of serious harm. See Lippert, 2017 WL

1545672, at *4 (N.D. Ill. April 28, 2017) (“The question common to all plaintiffs …

is whether each of defendants’ policies and practices do in fact put inmates with

serious medical conditions at risk.”).     This question focuses on the common

conditions and deprivations that create a baseline future risk for all class members,

as opposed to the individual characteristics of each member of the class; the answer

to this question is common to the class. See Jones v. Gusman, 296 F.R.D. 416, 466

(E.D. La. 2013) (“Whether certain conditions … either by themselves, or through a

mutually enforcing effect, put inmates at a substantial risk of harm is amenable to a

common answer.”) (internal punctuation omitted).

      The Plaintiff Class, Youth Subclass, and SMI Subclass also share the common

question of whether FDC has been deliberately indifferent to the substantial risk of

harm caused by its isolation policies and practices. The answer to this question will

resolve Plaintiffs’ Eighth Amendment claims in “one stroke.” See Wal-Mart, 564

U.S. at 350; Postawko v. Missouri Dep’t of Corr., 910 F.3d. 1030, 1038 (8th Cir.

2018) (answering the common question of whether a policy or custom constitutes



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deliberate indifference “will resolve an issue central to the validity of each of the

class members' claims”) (internal punctuation omitted).

      An additional common question for each of the Youth and SMI Subclasses is

whether their risk from the cumulative impact of the deprivations and conditions is

so high, given their respective vulnerabilities, that FDC should exclude them from

isolation. See, e.g., V.W. v. Conway, 236 F. Supp. 3d 554, 583-84 (N.D.N.Y. 2017)

(certifying class where cumulative effects of deprivations of basic human needs in

solitary confinement subject juveniles to unreasonable risk of serious psychological

and physiological harm because of their continuing development); Braggs, 257 F.

Supp. 3d at 1185 (finding placement in segregation endangers mentally ill

prisoners). The answer to this question applies to all members of each subclass.

      These common questions with common answers demonstrate that class

treatment is appropriate.

                 iv.   All class members experience the same core deprivations
                       and conditions.

      Because FDC subjects all class members in isolation to the same core

conditions and deprivations—and corollary risk of serious harm—distinctions

among isolation units in FDC’s written policies or between the actual harms suffered

by individual class members do not hinder a finding of commonality. See Cooper

v. Southern Co., 390 F.3d 695, 714 (11th Cir. 2004) (“[F]actual differences among




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the claims of the putative class members do not defeat certification.”) (internal

citations omitted).

      Moreover, because of how FDC’s isolation units function in practice the

minor differences in the types of isolation under FDC’s written policies virtually

disappear. As described above, FDC’s chronic understaffing results in the failure to

provide even the minimal privileges afforded under FDC’s written policies, thus

diminishing the differences between the forms of isolation. For example, FDC does

not have enough staff to provide out-of-cell recreation and dayroom access to

everyone who is eligible, while also performing other required correctional

operations in the isolation housing units. FDC’s practice of placing people on

multiple statuses at once (such as CM and DC, or CM and AC), and applying the

more restrictive policies also blurs the forms of isolation.

      FDC’s excessively punitive security measures in all forms of isolation also

dissolves any distinctions between restrictive housing types by discouraging people

from accessing what meager out-of-cell opportunities they are theoretically afforded.

For many people in isolation, going from their small cell to a slightly larger outdoor

cage for a couple hours is not worth suffering the degradation of being intrusively

strip searched, restrained and escorted in chains, and having their few possessions

ransacked. Due to the culture of retribution and abuse in FDC’s isolation units,

people also reasonably fear that every additional interaction with staff that comes



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with leaving their cells increases the risk of being charged with a new disciplinary

infraction, prolonging their stay in isolation. For the same reasons, they also fear

staff will spray them with chemical agents, use physical force against them, or place

them on property restriction.

      Because FDC subjects all people in isolation units to the same baseline risk

of serious harm, Plaintiffs meet commonality regardless of whether individuals in

isolation may in fact suffer different degrees of health consequences. See Postawko,

910 F.3d at 1038-1039 (while the “physical symptoms eventually suffered by each

class member may vary . . . the question asked by each class member is susceptible

to common resolution”). “Although a presently existing risk may ultimately result

in different future harm for different inmates—ranging from no harm at all to

death—every inmate suffers the same constitutional injury when he is expose to a

single statewide … policy or practice that creates a substantial risk of serious harm.”

Parsons, 754 F.3d at 678. When looking at the constitutional injury at issue—the

risk of future serious harm—FDC’s isolation policies and practices cause all

members of the class to suffer the same substantial risk of serious harm. Id. at 678;

see also Yates v. Collier, 868 F.3d 354, 361-65 (5th Cir. 2017) (affirming

commonality despite varying health consequences of excessive heat on class

members because they all suffered from the same substantial risk of serious harm).




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                 v.    The relief sought supports commonality.

      Finally, the relief that Plaintiffs seek to remedy their Eighth Amendment

claim also demonstrates commonality. Plaintiffs seek injunctive and declaratory

relief to remedy the substantial risk of serious harm to the Plaintiff Class, Youth

Subclass, and SMI Subclass caused by FDC’s isolation policies and practices. If the

Court ultimately finds on the merits that FDC is deliberately indifferent to such a

harm, the Court could enjoin the unconstitutional policies as applied to the entire

class and subclasses. See, e.g., Murray v. Auslander, 244 F.3d 807, 812 (11th Cir.

2001) (finding commonality satisfied in part because Plaintiffs sought classwide

injunctive and declaratory relief); Hughes v. Judd, No. 8:12-CV-568-T-23MAP,

2013 WL 1821077, at *23 (M.D. Fla. Mar. 27, 2013), report and recommendation

adopted as modified, No. 8:12-CV-568-T-23MAP, 2013 WL 1810806 (M.D. Fla.

Apr. 30, 2013) (finding commonality satisfied in part because Plaintiffs sought

“permanent injunctive and declaratory relief that would enjoin allegedly

unconstitutional behavior as applied to the entire class”). This is precisely the type

of systemic civils rights reform case supporting a finding of commonality. Jones,

2020 WL 5646124, at *4.

                b. Disability Discrimination Claim

      Plaintiffs’ proposed physical disability and serious mental illness subclasses

satisfy the commonality requirement because they challenge centralized and



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systemic policies and practices, and their claims are therefore susceptible to

classwide proof and resolution. Plaintiffs allege systemic violations of the ADA and

Rehabilitation Act based on common contentions across all proposed subclass

members. The ADA and Rehabilitation Act require that FDC “make reasonable

modifications in policies, practices, or procedures when the modifications are

necessary to avoid discrimination on the basis of disability.”                                  28 C.F.R.

35.130(b)(7)(i); Bircoll v. Miami-Dade Cnty., 480 F.3d 1072, 1088, n.21 (11th Cir.

2007) (finding same standards govern Rehabilitation Act claim). FDC discriminates

against people with disabilities by failing to provide systems that consistently

provide equal access to programs, services, and activities in isolation. 44 Members

of the respective disability subclasses suffer the same core injury, and the remedy

for Defendants’ systemic failure will be statewide.

        Commonality is satisfied in cases where people with disabilities seek

injunctive relief for systemic violations of their rights. See, e.g., Brown v. District

of Columbia, 928 F.3d 1070, 1079-82 (D.C. Cir. 2019) (finding commonality



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  In correctional facilities, where prison staff control nearly all aspects of prisoners’ daily lives, almost
everything provided to people in isolation is a public service, program, or activity within the ambit of the
ADA, including: eating, showering, toileting, communicating by mail and telephone, exercising, safety and
security, FDC’s administrative, disciplinary, and classification proceedings, medical, mental health, and
dental services, the library, and educational classes. See 28 C.F.R. § Pt. 35, App. A (U.S. Department of
Justice Guidance, explaining that “correctional facilities are unique facilities under title II” because
prisoners “cannot leave the facilities and must have their needs met by the corrections system,” which
“include, but are not limited to, proper medication and medical treatment, accessible toilet and shower
facilities, devices such as a bed transfer or a shower chair, and assistance with hygiene methods for prisoners
with physical disabilities”)


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because common proof would lead to common answers in case alleging class

members with disabilities were being unnecessarily kept in nursing home facilities);

Postawko, 910 F.3d at 1038 n.4 (affirming commonality of ADA class where

Plaintiffs alleged a failure to properly screen for and treat a life-threatening disease

because the entire proposed class was exposed to the same unconstitutional injury

despite varying physical symptoms suffered by each class member); Hernandez v.

County of Monterey, 305 F.R.D. 132, 142-43, 153-54, 157-59 (N.D. Cal. 2015)

(granting class certification in ADA jail case involving allegations of, inter alia,

failure to provide accommodations and access to health services, and physical

inaccessibility); Lane v. Kitzhaber, 283 F.R.D. 587, 595 (D. Or. 2012) (“[A] class of

disabled individuals seeking reasonable accommodation may be certified without

the need for an individualized assessment of each class member’s disability or the

type of accommodation needed.”).

      FDC’s failure to implement a system to ensure reasonable modifications of

isolation policies and practices so that people with disabilities can access even the

minimal programs, activities, and services in isolation impacts all proposed subclass

members similarly. See Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001)

overruled on other grounds by Johnson v. California, 543 U.S. 499 (2005) (finding

that class members “suffer similar harm from [a defendant’s] failure to

accommodate their disabilities”). This commonality holds true across members of



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the physical disability and mental illness subclasses, respectively, regardless of a

subclass member’s specific disability or required accommodation. See Dunn v.

Dunn, 318 F.R.D. 652, 662-63 (M.D. Ala. 2016) (certifying an ADA class

encompassing people with a wide range of disabilities, because the class claim

challenged “not the denial of the accommodations themselves, but the denial of a

system that would have the effect of ensuring that they and their fellow prisoners

were appropriately accommodated”); see also Ass'n For Disabled Americans, Inc.

v. Amoco Oil Co., 211 F.R.D. 457, 463 (S.D. Fla. 2002) (“[I]t is settled under Rule

23(a) that the representative plaintiffs need not have the identical disabilities as the

class.”) (citations omitted); Access Now, Inc. v. AHM CGH, Inc., No.

983004CIVGOLDSIMONTON, 2000 WL 1809979, at *3-4 (S.D. Fla. July 12,

2000) (finding commonality where people with different disabilities had claims with

“the same legal predicate”); Armstrong, 275 F.3d at 868 (rejecting defendants’

argument that representative lawsuits should have been filed by people with different

types of disabilities because despite the differences between them, they suffered the

same harm from defendant’s failure to accommodate their disabilities). To address

such systemic issues through individual lawsuits would be grossly inefficient and

unnecessary when the injunctive and declaratory relief Plaintiffs request in this

matter would resolve these issues on behalf of all subclass members in isolation in

FDC.



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      Plaintiffs’ ADA and Rehabilitation Act claims also do not require the Court

to individually assess whether each proposed subclass member has a qualifying

disability because the subclasses are defined as people already identified as having

a physical or mental disability that impairs a major life function. Compare Murray,

244 F.3d at 812 (affirming commonality where Defendants had already identified

individuals with disabilities eligible to receive services and individualized

determinations were not required) with Hoffer v. Inch, 382 F. Supp. 3d 1288, 1298

(N.D. Fla. 2019) (decertifying a class as to Plaintiffs’ ADA claims because the

claims required an individualized assessment of whether each person with Hepatitis

C had a disability and therefore should be included in the class), and Stafford v.

Carter, 2018 WL 4361639, at *21 (S.D. Ind. Sep. 13, 2018) (decertifying class of

all persons in Indiana DOC diagnosed with HCV because “it is not clear that all class

members, as the class is currently defined, suffer from the limitation of a major life

activity”). Nor do Plaintiffs’ ADA and Rehabilitation Act clams require the Court

to determine what specific modifications must be provided to which specific

individuals in isolation. Rather, this case calls for FDC to implement a system-wide

policy and procedure for ensuring that people with disabilities in restrictive housing

are assessed for and provided necessary accommodations.




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                       i. Physical Disabilities Subclass

      Plaintiffs’ ADA and Rehabilitation Act claims that FDC discriminates against

people with physical disabilities in isolation raise the common question of whether

FDC’s policies and practices result in the systemic denial of equal access to

programs, services, and activities.

      There is ample evidence of the systemic ways in which FDC’s policies and

practices deny people with physical disabilities in isolation equal access. FDC’s

accommodations for people with physical disabilities in isolation are limited to

providing assistive equipment. FDC does not modify any of its isolation policies

and practices, even when these result in the denial of equal access for people with

physical disabilities to, for example, exercise/recreation, written communication

with friends and family, or even activities of daily living. FDC does not account for

the myriad ways in which people with physical disabilities in prison often depend

upon help from their fellow prisoners to communicate with or alert staff to

emergencies that are unavailable in restrictive housing, failing even to install

something as simple as a call button for those with communication deficits.

      FDC also fails to provide an effective mechanism for requesting and obtaining

reasonable modifications or accommodations in isolation. FDC has implemented an

unreasonable and obtuse process for requesting accommodations that splits

responsibility between two offices and—rather than coordinate among the



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professional staff in those offices who share an email list to provide

accommodations—penalizes prisoners who proceed to the “wrong” office by

rejecting their request and telling them to start the process anew. Yet, nowhere does

FDC provide instruction to people with physical disabilities about these two

different accommodation request pathways and how to distinguish between them.

      Further, FDC widely uses “property restriction” in restrictive housing units to

remove assistive devices from people with physical disabilities for up to 72 hours at

a time, with no review or oversight. This practice, already unduly punitive for all

class members, is thus made even worse for people with physical disabilities.

                     ii.    SMI Subclass

      Plaintiffs’ claims that FDC discriminates against people with serious mental

illness in isolation in violation of the ADA and Rehabilitation Act raise the common

question of whether FDC’s policies and practices result in systemic denial of equal

access to programs, services, and activities to people with serious mental illness. In

addition to the threshold risk of harm that isolation poses to all people, isolation

particularly affects people with serious mental illness in ways that require

accommodations to ensure that members of this subclass can participate in services,

programs, and activities, including activities of daily living, to an equal extent as

people without serious mental illness. This should include accommodations that

counteract the otherwise exacerbating and debilitating effects of isolation on mental



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illness, such as additional out-of-cell time or sensory stimulation. But, as a matter

of policy and procedure, FDC does not make any such modifications to their

isolation policies and procedures for people with serious mental illness. As a result,

they can lose the psychological stability and mental functioning that are necessary

to complete even the basic functions available in restrictive housing. See, e.g.,

Haney Decl., ¶86.

             3. Named Plaintiffs’ Claims are Typical of Those of the Class and
                Subclasses.

      Named Plaintiffs’ claims are “typical of the claims or defenses of the class”

because the class representatives share the same interest and injuries as the proposed

class members. Rule 23(a)(3); Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1322

(11th Cir. 2008) (typicality met when plaintiffs’ claims share a “sufficient nexus”

with those of the class).

      The interests of Named Plaintiffs and the Class are aligned because their

claims arise from the same isolation policies and practices and are based on the same

legal theories of deliberate indifference under the Eighth Amendment and disability

discrimination under the ADA and Rehabilitation Act. Groover, 2018 683119 at

*11 (finding typicality where plaintiffs’ claims were based on the same Eighth

Amendment claims of the class); Ass'n For Disabled Americans, Inc., 211 F.R.D. at

464 (finding typicality when plaintiffs raised the same claims as class members

regarding “compliance with the ADA”).         They all share the same interest in

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enjoining FDC from violating their constitutional and statutory rights through its

isolation policies and practices.

      As a result of FDC’s use of the same isolation policies system-wide, Named

Plaintiffs suffer the same injury—a baseline substantial risk of serious harm—as the

other class members. Burns Decl., ¶¶32, 38, 42; Venters Decl., ¶¶55-61; Kraus

Decl., ¶¶45-46; Haney Decl., ¶¶73-78, 82. Plaintiffs Harvard, Espinosa, Ferguson,

and Hill, whom FDC has diagnosed with serious mental illness, share the same

injury of a heightened risk of serious harm with the SMI Subclass members because

of their vulnerabilities related to their mental illness. Burns Decl., ¶¶32, 38, 42;

Haney Decl., ¶¶74, 76, 82-83. Plaintiff Jeremiah Hill, as a youth under 21 years old,

shares that same heightened risk with the Youth Subclass because of the

vulnerabilities associated with their ongoing development. Kraus Decl., ¶¶45-46,

50. FDC also caused Named Plaintiffs with disabilities to share the same injury of

disability discrimination with the Physical Disability and SMI Subclass members by

failing to implement systems that consistently provide people with disabilities equal

access to programs, services, and activities in isolation.

      As with commonality, the fact that some people in isolation suffer different

healthcare consequences or different denial of programs, services, or activities in

isolation than Named Plaintiffs does not defeat typicality. Murray, 244 F.3d at 811

(internal quotations and citations omitted) (“The typicality requirement may be



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satisfied despite substantial factual differences . . . when there is a strong similarity

of legal theories.”); see also Dunn v. Dunn, 318 F.R.D. 652, 666 (M.D. Ala.

2016), modified sub nom. Braggs v. Dunn, No. 2:14CV601-MHT, 2020 WL

2395987 (M.D. Ala. May 12, 2020) (typicality satisfied even though the named

representatives and proposed class members had “diverse disabilities” and required

“various different accommodations,” because the class representatives were

“challeng[ing] practices with which they all interact and from which they all

allegedly suffer.”). Because Named Plaintiffs’ and other class members’ Eighth

Amendment and disability discrimination claims are based on the same legal

theories, and arise from the same systemic isolation policies and practices, Named

Plaintiffs’ claims are typical of the those of the Class and Subclasses.

             4. Named Plaintiffs and Their Counsel Will Adequately Protect
                the Interests of the Class and Subclasses.

      Named Plaintiffs will “fairly and adequately represent and protect the interests

of the class” as required under Federal Rule 23(a)(4). This requirement is met when

1) “plaintiffs’ counsel are qualified, experienced, and generally able to conduct the

proposed litigation,” and 2) when there are no “interests antagonistic to those of the

rest of the class.” Griffin v. Carlin, 755 F.2d 1516, 1533 (11th Cir. 1985). Where a

case seeks only injunctive relief, “[a]dequate representation is usually presumed in

the absence of contrary evidence . . . because there is no monetary pie to be sliced

up.” Braggs, 317 F.R.D. at 666 (internal citations omitted); see also Access Now,

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Inc. v. Ambulatory Surgery Ctr. Grp., Ltd., 197 F.R.D. 522, 528 (S.D. Fla. 2000).

Plaintiffs satisfy these criteria here.

       Plaintiffs are represented by counsel experienced in civil rights litigation,

prisoners’ rights litigation, and complex class action litigation. They have the

experience, resources, and commitment needed to prosecute this case. Id.; see

Navelski v. Int’l Paper Co., 244 F. Supp. 3d 1275, 1307 (N.D. Fla. 2017) (appointing

class counsel after considering their qualifications, experience, and advocacy in the

litigation so far). Plaintiffs’ counsel include attorneys from three civil rights

organizations, founded in the 1970s, dedicated to bringing impact and class action

cases: Southern Poverty Law Center (SPLC), Florida Legal Services (FLS), and

Florida Justice Institute (FJI). Declaration of Kelly Knapp (Knapp), ¶¶4-7. Rifkin

Law Office, founded in 2013, is similarly dedicated to and experienced in pursuing

civil rights cases. Id., ¶¶8-9. There are no conflicts between counsel, Plaintiffs, and

the proposed class members that would compromise their ability to represent the

class. Id., ¶¶12-13.

       None of Named Plaintiffs have any conflicts of interest with the class and

subclasses. They share the common goal of ending the unconstitutional and




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discriminatory treatment of people in FDC isolation.45 Named Plaintiffs seek

declaratory and injunctive relief that will benefit the entire class and subclasses, and

do not seek monetary or individual gain. See Ass’n For Disabled Americans, Inc.,

v. Amoco Oil Co., 211 F.R.D. 457, 464 (S.D. Fla. 2002) (explaining that adequacy

is presumed even when the plaintiffs have different disabilities because the requested

injunctive relief will equally benefit all members of the class). They have been

actively working with Plaintiffs’ counsel and plan to continue to do so throughout

the lifetime of this case.46 Thus, there is no antagonistic conflict nor is there any

likelihood that one could develop.

          Plaintiffs’ counsel also meet the requirements of Federal Rule 23(g) to be

appointed as class counsel. They have investigated and litigated this matter since

2018. Knapp Decl., ¶10. As explained above, counsel are well-versed in applicable

constitutional and civil rights laws, experienced in handling class actions and

complex litigation, and have sufficient resources to vigorously prosecute this case.

See Fed. R. Civ. P. 23(g); see also Knapp Decl., ¶¶4-10.




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     Kendrick ¶20; Ferguson ¶2; Burgess ¶2; Espinosa ¶2; Harvard ¶21; Hill ¶21; J.H. ¶15.
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     Kendrick ¶2; Ferguson ¶3; Burgess ¶3; Espinosa ¶3; Harvard ¶2; Hill ¶22; J.H. ¶16.


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      B. Plaintiffs Meet the Requirements of Rule 23(b)(2) Because This Case
         Seeks Declaratory and Injunctive Relief from Systemic Policies and
         Practices.

      To be certified, a class action must also satisfy one of the provisions of Rule

23(b). Because the class members seek uniform relief from a practice applicable to

all members, this case fits squarely within Rule 23(b)(2), authorizing class

certification where “the party opposing the class has acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or

correspondence declaratory relief is appropriate respecting the class as a whole.”

Fed. R. Civ. P. 23(b)(2); Hughes, 2013 WL 1821077, at *25. “The key to [a] (b)(2)

class is ‘the indivisible nature of the injunctive or declaratory remedy warranted—

the notion that the conduct is such that it can be enjoined or declared unlawful only

as to all of the class members or as to none of them.” Wal-Mart, 564 U.S. at 360

(internal quotation omitted).

      Rule 23b(2) is “almost automatically satisfied in actions primarily seeking

injunctive relief,” including cases challenging prison policies and practices. Baby

Neal for and by Kanter v. Casey, 43 F. 3d 48, 58 (3rd Cir. 1994); Braggs, 317 F.R.D.

at 669 (finding a constitutional challenge to Alabama’s prison system’s mental

health treatment practices and policies for incarcerated people was “exactly the kind

of case for which Rule 23(b)(2) was intended”); Bradley v. Harrelson, 151 F.R.D.

422, 427 (M.D. Ala. 1993) (subsection (b)(2) “is particularly applicable to suits . . .



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involv[ing] conditions of confinement in a correctional institution”). Indeed, the

Supreme Court has affirmed broad injunctive relief to remedy widespread Eighth

Amendment violations resulting from prison conditions. Brown v. Plata, 563 U.S.

493 (2011).

      Certification is appropriate under Rule 23(b)(2) because Plaintiffs challenge

Defendant’s unconstitutional and discriminatory isolation practices, seeking only

declaratory and injunctive relief on behalf of the entire class. Defendants’ policies

and practices are “generally applicable” to all class members because each person

within the class is subject to FDC’s systemic isolation practices and policies. See

Anderson v. Garner, 22 F. Supp.2d 1379, 1387 (N.D. Ga. 1997) (certifying a (b)(2)

class because alleged excessive force was systemic and applied generally to all

putative class members). All proposed class members are at substantial risk of

serious harm due to Defendants’ centralized isolation policies and practices. See

Parsons, 754 F.3d at 678 (affirming (b)(2) class alleging “a substantial risk of harm

by specific set of centralized [prison] policies and practices of uniform and statewide

application”). Similarly, all members of the Physical Disability and SMI Subclasses

are subject to Defendants’ discriminatory policies and practices that violate the ADA

and Section 504 of the Rehabilitation Act. See Henderson v. Thomas, 289 F.R.D.

506, 512 (M.D. Ala. 2012) (certifying (b)(2) class where injunctive and declaratory

relief sought to enjoin discriminatory state prison system policy segregating all HIV-



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positive prisoners). Therefore, this action is exactly the type of case where

certification under Rule 23(b)(2) is proper.

   IV.   CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court certify,

under Rule 23(a) and (b)(2), the proposed class and subclasses. Plaintiffs also

request that the Court appoint the undersigned as class counsel under Rule 23(g).

Dated: May 28, 2021                     Respectfully submitted,

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                      CERTIFICATE OF WORD LIMIT

The undersigned certifies that this Motion complies with the limitation set forth in

ECF No. 304 because it contains 12,793 words.

                                      s/ Kelly Knapp
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